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                                              UNITED STATES DISTRICT COURT
                                              WESTERN DISTRICT OF KENTUCKY
                                                      AT LOUISVILLE
                                                    (Filed Electronically)

                        CRIMINAL ACTION NO. 3:23MJ-317
                        UNITED STATES OF AMERICA,
                                                                                                   PLAINTIFF,

                        vs.


                        KELVIN ANDERSON,                                                         DEFENDANT.


                                                     MOTION TO WITHDRAW

                              Comes the Federal Defender and moves the Court for leave to withdraw as counsel

                        of record herein. As grounds for said motion, the undersigned states that on May 25, 2023,

                        defendant retained Hon. Ashlea Hamilton as his counsel in this case, and said attorney has

                        entered her appearance.


                                                                        /s/ Scott T. Wendelsdorf
                                                                        Federal Defender
                                                                        200 Theatre Building
                                                                        629 Fourth Street
                                                                        Louisville, Kentucky 40202
                                                                        (502) 584-0525

                                                                        Counsel for Defendant.




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                                                             CERTIFICATE

                               I hereby certify that on May 30, 2023, I electronically filed the foregoing with the
                        clerk of the court by using the CM/ECF system, which will send a notice of electronic filing
                        to counsel of record. I also certify that on May 30, 2023, a copy of this motion was served
                        on the defendant by mailing same to Kelvin Anderson.



                                                                          /s/ Scott T. Wendelsdorf




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